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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

AMGEN INC., AMGEN MANUFACTURING                      )
LIMITED, and AMGEN USA INC.,                         )
                                                     )
                   Plaintiffs,                       ) C.A. No. 1:14-01317-RGA
                                                     ) (CONSOLIDATED)
v.                                                   )
                                                     )
SANOFI, SANOFI-AVENTIS U.S. LLC,                     )
AVENTISUB LLC, f/d/b/a AVENTIS                       )
PHARMACEUTICALS INC., and REGENERON                  )
PHARMACEUTICALS, INC.,                               )
                                                     )
                   Defendants.                       )
                                                     )

                 DEFENDANTS’ MOTION UNDER FED. R. CIV. P. 50(b)
                     FOR JUDGMENT AS A MATTER OF LAW

       Defendants respectfully move the Court pursuant to Rule 50(b) of the Federal Rules of

Civil Procedure for an order granting judgment in favor of Defendants as a matter of law. The

grounds for this motion are set forth in an Opening Brief filed simultaneously herewith.



Dated: March 18, 2019                               Respectfully submitted,
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                                                    LLC

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